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                            UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MASSACHUSETTS


 In re                                                   Chapter 13
 Eric D. Hoover & Pandora MacLean-Hoover,                Case No. 15-10691-JNF
 Debtors.


       NOTICE OF APPEARANCE OF SUCCESSOR COUNSEL FOR DEBTORS
                       AND REQUEST FOR NOTICE

To the Clerk of Court and all parties of record:

       I am a member in good standing of the bar of the United States District Court for the

District of Massachusetts, and I hereby enter my appearance as successor counsel for debtors

Eric D. Hoover and Pandora MacLean-Hoover. “Nothing in the Bankruptcy Code . . . precludes a

Chapter 13 debtor from retaining successor counsel, special counsel, or even co-counsel, with the

fees of such counsel, which are paid out of property of the estate, being subject to review and

approval by the court.” In re Butts, 2010 WL 3369138 at 1 (Bankr. D. Mass. 2010). Accordingly,

an Application for Compensation was filed simultaneously herewith.

       Pursuant to MLBR 9010-3(c), I further request to receive copies of all notices and

pleadings in this matter.

                                              Respectfully submitted,


                                              /s/ Christopher M. Brine
                                              Christopher M. Brine (BBO 679289)
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                                      Certificate of Service

I hereby certify that on this day copies of the foregoing notice were electronically served upon all
registered CM/ECF participants in accordance with MLBR, Appendix 8, Rule 9, and upon all
other interested parties who have appeared and requested such notice.

                                                  /s/ Christopher M. Brine
                                                  Christopher M. Brine (BBO 679289)
